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 4

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 6

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 8

 9                          UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11

12 JOSE MADRIZ                             )   Case No.:
                                           )
13                           Plaintiff,    )
                                           )   COMPLAINT FOR:
14         vs.                             )
                                           )   DENIAL OF CIVIL RIGHTS AND
15                                         )   ACCESS TO PUBLIC FACILITIES TO
                                           )   PHYSICALLY DISABLED PERSONS
16   TITO’S MARKET, INC., a California     )   IN VIOLATION OF THE
     corporation; LUIS MION, JR.; and JOHN )   AMERICANS WITH DISABILITIES
                                               ACT OF 1990, (42 U.S.C. §12101, et
17   MION                                  )   seq.) AND THE UNRUH CIVIL
                                           )   RIGHTS ACT, (CALIFORNIA CIVIL
18                                         )   CODE §51, et seq.)
                          Defendants.      )
19                                         )   DEMAND FOR JURY TRIAL
                                           )
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                                       COMPLAINT
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 1         Plaintiff JOSE MADRIZ (hereinafter referred to as “Plaintiff”) complains of
 2 TITO’S MARKET, INC., a California corporation; LUIS MION, JR.; and JOHN

 3 MION (each, individually a “Defendant” and collectively “Defendants”) and alleges

 4 as follows:

 5                                      I.     PARTIES
 6         1.    Plaintiff JOSE MADRIZ is a California resident and a qualified
 7 physically disabled person. He cannot walk due to arthrogryposis and uses a

 8 wheelchair for mobility.

 9         2.    Defendants TITO’S MARKET, INC., a California corporation; LUIS
10 MION, JR.; and JOHN MION are and were the owners, operators, lessors and/or

11 lessees of the subject business, property, and facility at all times relevant in this

12 Complaint.

13         3.    Defendants own and owned the property located at 9814 Garvey Ave.,
14 El Monte, CA 91733 (“Subject Property”) at all relevant times.

15         1.    Defendants operate and operated the restaurant and market doing
16 business as Tito’s Market (“Restaurant and Market”), located at the Subject Property,

17 at all relevant times.

18         2.    Plaintiff alleges that the Defendants have been and are the owners,
19 franchisees, lessees, general partners, limited partners, agents, trustees, employees,

20 subsidiaries, partner companies and/or joint ventures of each of the other Defendants,

21 and performed all acts and omissions stated herein within the course and scope of

22 such relationships causing the damages complained of herein.

23                          II.    JURISDICTION AND VENUE
24         3.    This Court has subject matter jurisdiction over this action pursuant to 28
25 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with

26 Disabilities Act of 1990, U.S.C. §12101, et seq.
27         4.    Pursuant to supplemental jurisdiction, an attendant and related cause of
28 action, arising out of the same nucleus of operative facts and arising out of the same

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                                             COMPLAINT
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 1 transactions, is also brought under California’s Unruh Civil rights Act, which

 2 expressly incorporates the Americans with Disabilities Act.

 3         5.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b) and
 4 is founded on the fact that the real property which is the subject of this action is

 5 located in this district and that Plaintiff’s causes of action arose in this district.

 6                                        III.   FACTS
 7         6.     Plaintiff uses a motorized wheelchair for mobility and travels by means
 8 of a specially equipped van. Plaintiff prides himself on not just his independence but

 9 also on empowering other disabled persons.

10         7.     Defendants’ Restaurant and Market is open to the public, a place of
11 public accommodation, and a business establishment.

12         8.     Plaintiff went to the Restaurant and Market on July 15, 2020 and
13 December 17, 2020 to eat and shop.

14         9.     Unfortunately, on both of Plaintiff’s visits to the Restaurant and Market,
15 Defendants did not offer persons with disabilities with equivalent facilities,

16 privileges, advantages, and accommodations offered to other persons.

17         10.    Plaintiff encountered barriers that interfered with and denied Plaintiff the
18 ability to use and enjoy the goods, services, privileges, advantages, and

19 accommodations offered by Defendants at the Subject Property.

20         11.    Parking for patrons visiting the Subject Property and Restaurant and
21 Market are among the facilities, privileges advantages, and accommodations offered

22 by Defendants.

23         12.    When parking is provided, there must be at least one marked van
24 accessible parking space designated and marked for disabled persons. However, there

25 is no accessible parking for disabled persons at the Restaurant and Market. No spaces

26 within the parking lot comply with the Americans with Disabilities Act. The parking
27 area also does not comply with the latest California Building Codes.

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 1        13.    The paint used for the designated accessible parking spaces was faded
 2 and cannot be clearly seen. The International Access Symbol was so faded and worn,

 3 it cannot be clearly seen. 2010 CBC 1129B.4.1.

 4        14.    The designated parking space’s adjacent loading and unloading access
 5 aisle did not say “No Parking” or the paint is so faded it cannot be read. 2010 CBC

 6 1129B.3.1.

 7        15.    The ground surface of the parking lot was severely cracked, broken and
 8 uneven. ADA 2010 Code § 302.1; 2010 CBC Section 1133B.7.1.

 9        16.    The adjacent access aisle must be clear of obstructions. However, the
10 access aisle has broken concrete and an approximately 1/2 inch recessed sewer or

11 drain cap obstructing the access aisle. ADA 2010 § 502.3. 2010 CBC Code

12 1129B.3.1.

13        17.    There must also be an accessible path of travel from accessible parking
14 spaces to the entrance. However, there are no such accessible paths of travel at the

15 Restaurant and Market. The ground surface of the parking lot was severely cracked,

16 broken and uneven. There are cracks and uneven surfaces including the surface of the

17 ground within the designated path of travel leading into the entrance of the Restaurant

18 and Market. There is an approximately 1/2 inch lip of curb in the route from the

19 access aisle to the entrance. ADA 2010 § 302.1; 2010 CBC Code 1120B.2; 2010

20 CBC Section 1133B.7.1.

21        18.    Plaintiff personally encountered these barriers.
22        19.    These inaccessible conditions denied Plaintiff full and equal access and
23 caused him difficulty, humiliation, and frustration.

24        20.    The barriers existed during each of Plaintiff’s visits to the Restaurant and
25 Market.

26        21.    Plaintiff alleges that Defendants knew that the architectural barriers
27 prevented equal access. Plaintiff will prove that Defendants had actual knowledge

28 that the architectural barriers prevented equal access and that the noncompliance with

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 1 the Americans with Disabilities Act and Title 24 of the California Building Code

 2 regarding accessible features was intentional.

 3         22.    Plaintiff intends to return to Defendants’ public accommodation
 4 facilities in the near future. Plaintiff is currently deterred from returning because of

 5 the knowledge of barriers to equal access that continue to exist at Defendants’

 6 facilities that relate to Plaintiff’s disabilities.

 7         23.    Defendants have failed to maintain in working and useable conditions
 8 those features necessary to provide ready access to persons with disabilities. 28

 9 C.F.R. §36.211(a).

10         24.    Defendants have the financial resources to remove these barriers without
11 much expense or difficulty in order to make their Property more accessible to their

12 mobility impaired customers. These barriers are readily achievable to remove. The

13 United States Department of Justice has identified that these types of barriers are

14 readily achievable to remove.

15         25.    To date, Defendants refuse to remove these barriers, in violation of the
16 law, willfully depriving disabled persons including Plaintiff of important civil rights.

17         26.    On information and belief, the Plaintiff alleges that the Defendants’
18 failure to remove these barriers was intentional because the barriers are logical and

19 obvious. During all relevant times Defendants had authority, control and dominion

20 over these conditions and therefore the absence of accessible facilities was not a

21 mishap but rather an intentional act.

22         27.    The barriers to access are listed above without prejudice to Plaintiff
23 citing additional barriers to access by an amended complaint after inspection by

24 Plaintiff’s access consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir.

25 2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier One

26 Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011). All of these barriers to access
27 render the premises inaccessible to physically disabled persons who are mobility

28 impaired, such as Plaintiff, and are barriers Plaintiff may encounter when he returns

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 1 to the premises. All facilities must be brought into compliance with all applicable

 2 federal and state code requirements, according to proof.

 3                               FIRST CAUSE OF ACTION
 4                 Violation of the Americans With Disabilities Act of 1990
 5                                 (42 U.S.C. §12101, et seq.)
 6                                  (Against All Defendants)
 7         28.   Plaintiff alleges and incorporates by reference, as if fully set forth again
 8 herein, each and every allegation contained in all prior paragraphs of this complaint.

 9         29.   More than thirty years ago, the 101st United States Congress found that
10 although “physical or mental disabilities in no way diminish a person’s right to fully

11 participate in all aspects of society, yet many people with physical or mental

12 disabilities have been precluded from doing so because of discrimination…in such

13 critical areas as employment, housing, public accommodations, education,

14 transportation, communication, recreation, institutionalization, health services,

15 voting, and access to public services.” 42 U.S.C. §12101(a).

16         30.   In 1990 Congress also found that “the Nation’s proper goals regarding
17 individuals with disabilities are to assure equality of opportunity, full participation,

18 independent living, and economic self-sufficiency for such individuals,” but that “the

19 continuing existence of unfair and unnecessary discrimination and prejudice denies

20 people with disabilities the opportunity to compete on an equal basis and to pursue

21 those opportunities for which our free society is justifiably famous.” 42 U.S.C.

22 §12101(a).

23         31.   In passing the Americans with Disabilities Act of 1990, which was
24 signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the

25 “ADA”), Congress stated as its purpose:

26         “It is the purpose of this Act
27
           (1) to provide a clear and comprehensive national mandate for the
28         elimination of discrimination against individuals with disabilities;
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 1

 2        (2) to provide clear, strong, consistent, enforceable standards addressing
          discrimination against individuals with disabilities;
 3

 4        (3) to ensure that the Federal Government plays a central role in
          enforcing the standards established in this Act on behalf of individuals
 5        with disabilities; and
 6
          (4) to invoke the sweep of congressional authority, including the power
 7        to enforce the fourteenth amendment and to regulate commerce, in order
 8        to address the major areas of discrimination faced day to-day by people
          with disabilities.”
 9

10 42 USC §12101(b).

11        32.    As part of the ADA, Congress passed “Title III – Public

12 Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et

13 seq.). Title III of the ADA prohibits discrimination against any person “on the basis

14 of disability in the full and equal enjoyment of the goods, services, facilities,

15 privileges, advantages, or accommodations of any place of public accommodation by

16 any person who owns, leases (or leases to), or operates a place of public

17 accommodation.” 42 U.S.C. §12182(a).

18        33.    The specific prohibitions against discrimination include, inter alia, the

19 following:

20     • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
         shall be discriminatory to afford an individual or class of individuals, on
21       the basis of a disability or disabilities of such individual or class,
22       directly, or through contractual, licensing, or other arrangements, with
         the opportunity to participate in or benefit from a good, service, facility,
23       privilege, advantage, or accommodation that is not equal to that afforded
24       to other individuals.”
25     • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
26       modifications in policies, practices, or procedures when such
         modifications are necessary to afford such goods, services, facilities,
27
         privileges, advantages, or accommodations to individuals with
28       disabilities...;”

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 1      • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
 2        necessary to ensure that no individual with a disability is excluded,
          denied service, segregated, or otherwise treated differently than other
 3        individuals because of the absence of auxiliary aids and services...;”
 4
        • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
 5        barriers, and communication barriers that are structural in nature, in
 6        existing facilities... where such removal is readily achievable;”
 7      • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that the
 8        removal of a barrier under clause (iv) is not readily achievable, a failure
          to make such goods, services, facilities, privileges, advantages, or
 9
          accommodations available through alternative methods if such methods
10        are readily achievable.”
11
           34.    Plaintiff is a qualified individual with a disability as defined in the
12
     Rehabilitation Act and in the Americans with Disabilities Act of 1990.
13
           35.    The acts and omissions of Defendants set forth herein were in violation
14
     of Plaintiff’s rights under the ADA and the regulations promulgated thereunder, 28
15
     C.F.R. Part 36 et seq.
16
           36.    The removal of each of the physical and policy barriers complained of
17
     by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
18
     achievable” under the standards of §12181 and §12182 of the ADA. Specifically, it
19
     was readily achievable for a Restaurant and Market to provide accessible parking and
20
     paths of travel. Removal of each and every one of the architectural and/or policy
21
     barriers complained of herein were already required under California law. Further, on
22
     information and belief, alterations, structural repairs or additions since January 26,
23
     1993, have also independently triggered requirements for removal of barriers to
24
     access for disabled persons per §12183 of the ADA. In the event that removal of any
25
     barrier is found to be “not readily achievable,” Defendants still violated the ADA, per
26
     §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
27
     and accommodations through alternative methods that were “readily achievable.”
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 1        37.    On information and belief, as of the date of Plaintiff’s encounter at the
 2 premises and as of the filing of this Complaint, Defendants’ actions, policies, and

 3 physical premises have denied and continue to deny full and equal access to Plaintiff

 4 and to other mobility disabled persons in other respects, which violate Plaintiff’s right

 5 to full and equal access and which discriminate against Plaintiff on the basis of his

 6 disabilities, thus wrongfully denying to Plaintiff the full and equal enjoyment of the

 7 goods, services, facilities, privileges, advantages and accommodations, in violation of

 8 42 U.S.C. §12182 and §12183 of the ADA.

 9        38.    Defendants’ actions continue to deny Plaintiff’s rights to full and equal
10 access and discriminated and continue to discriminate against him on the basis of his

11 disabilities, thus wrongfully denying to Plaintiff the full and equal enjoyment of

12 Defendants’ goods, services, facilities, privileges, advantages and accommodations,

13 in violation of the ADA, 42 U.S.C. §12182.

14        39.    Further, each and every violation of the Americans With Disabilities Act
15 of 1990 also constitutes a separate and distinct violation of California Civil Code

16 §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of damages

17 and injunctive relief pursuant to California law, including but not limited to Civil

18 Code §54.3 and §55.

19                             SECOND CAUSE OF ACTION
20                          Violation of the Unruh Civil Rights Act
21                            (California Civil Code §51, et seq.)
22                                 (Against All Defendants)
23        40.    Plaintiff alleges and incorporates by reference, as if fully set forth again
24 herein, each and every allegation contained in all prior paragraphs of this complaint.

25        41.    California Civil Code §51 provides that physically disabled persons are
26 free and equal citizens of the state, regardless of their medical condition or disability:
27

28        All persons within the jurisdiction of this state are free and equal, and no
          matter what their sex, race, color, religion, ancestry, national origin,
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 1         disability, or medical condition are entitled to full and equal
 2         accommodations, advantages, facilities, privileges, or services in all
           business establishments of every kind whatsoever.
 3

 4 California Civil Code §51(b) (emphasis added).

 5         42.   California Civil Code §51.5 also states, in part: “No business,

 6 establishment of any kind whatsoever shall discriminate against…any person in this

 7 state on account” of their disability.

 8         43.   California Civil Code §51(f) specifically incorporates (by reference) an

 9 individual’s rights under the ADA into the Unruh Act.

10         44.   California Civil Code §52 provides that the discrimination by

11 Defendants against Plaintiff on the basis of his disability constitutes a violation of the

12 general antidiscrimination provisions of §51 and §52.

13         45.   Each of Defendants’ discriminatory acts or omissions constitutes a

14 separate and distinct violation of California Civil Code §52, which provides that:

15         Whoever denies, aids or incites a denial, or makes any discrimination or
           distinction contrary to section 51, 51.5, or 51.6 is liable for each and
16         every offense for the actual damages, and any amount that may be
17         determined by a jury, or a court sitting without a jury, up to a maximum
           of three times the amount of actual damage but in no case less than four
18         thousand dollars ($4,000), and any attorney’s fees that may be
19         determined by the court in addition thereto, suffered by any person
           denied the rights provided in Section 51, 51.5, or 51.6.
20

21         46.   Any violation of the Americans with Disabilities Act of 1990 constitutes

22 a violation of California Civil Code §51(f), thus independently justifying an award of

23 damages and injunctive relief pursuant to California law, including Civil Code §52.

24 Per Civil Code §51(f), “A violation of the right of any individual under the

25 Americans with Disabilities Act of 1990 (Public Law 101-336) shall also constitute a

26 violation of this section.”
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 1          47.   The actions and omissions of Defendants as herein alleged constitute a
 2 denial of access to and use of the described public facilities by physically disabled

 3 persons within the meaning of California Civil Code §51 and §52.

 4          48.   As a proximate result of Defendants’ action and omissions, Defendants
 5 have discriminated against Plaintiff in violation of Civil Code §51 and §52, and are

 6 responsible for statutory, compensatory and actual damages to Plaintiff, according to

 7 proof.

 8                                  PRAYER FOR RELIEF
 9          Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
10 forth in this Complaint. Plaintiff has suffered and will continue to suffer irreparable

11 injury as a result of the unlawful acts, omissions, policies, and practices of the

12 Defendants as alleged herein, unless Plaintiff is granted the relief he requests.

13 Plaintiff and Defendants have an actual controversy and opposing legal positions as

14 to Defendants’ violations of the laws of the United States and the State of California.

15          The need for relief is critical because the civil rights at issue are paramount
16 under the laws of the United States of America and the State of California.

17          WHEREFORE, Plaintiff JOSE MADRIZ prays judgment against Defendants,
18 and each of them, as follows:

19          1.    Issue a preliminary and permanent injunction directing Defendants as
20   current owners, operators, lessors, and/or lessees of the Subject Property and
21   premises to modify the above described property, premises, policies and related
22   facilities to provide full and equal access to all persons, including persons with
23   physical disabilities; and issue a preliminary and permanent injunction pursuant to
24   ADA §12188(a) and state law directing Defendants to provide facilities and services
25   usable by Plaintiff and similarly situated persons with disabilities, and which provide
26   full and equal access, as required by law, and to maintain such accessible facilities
27   once they are provided; to cease any discriminatory policies; and to train
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 1   Defendants’ employees and agents how to recognize disabled persons and
 2   accommodate their rights and needs;
 3         2.    Retain jurisdiction over the Defendants until such time as the Court is
 4   satisfied that Defendants’ unlawful policies, practices, acts and omissions, and
 5   maintenance of physically inaccessible public facilities and policies as complained of
 6   herein no longer occur, and cannot recur;
 7         3.    Award to Plaintiff all appropriate damages, including but not limited to
 8   actual and statutory damages according to proof;
 9         4.    Award to Plaintiff all reasonable attorney fees, litigation expenses, and
10   costs of this proceeding pursuant to 42 U.S.C §12205 and California Civil Code §52;
11   and
12         5.    Grant such other and further relief as this Court may deem just and
13   proper.
14

15 DATED: December 21, 2020                       VALENTI LAW APC
16

17                                                 By: /s/ Matt Valenti
18                                                 Matt Valenti, Esq.
                                                   Attorney for Plaintiff
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 1                                     JURY DEMAND
 2
           Plaintiff JOSE MADRIZ hereby demands a trial by jury for all claims and
 3
     issues for which a jury is permitted.
 4

 5

 6
     DATED: December 21, 2020                      VALENTI LAW APC
 7

 8
                                                    By: /s/ Matt Valenti
 9
                                                    Matt Valenti, Esq.
10                                                  Attorney for Plaintiff
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